AO 91° Case 2:10-cr-01277-ODW Document 1

Rev. 11/97

CRIMINAL COMPLAINT

Filed 10/15/10

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UNITED STATES DISTRICT COURT

CENTRAL DISTRICT OF F CALIFORNIA

UNITED STATES OF AMERICA
v.

GEORGE SILAH

DOCKET NO.

MAGISTRATE'S CASE NO.

10-

Complaint for violation of Title 18, United States Code, Section 1204(a).

NAME OF MAGISTRATE JUDGE
HONORABLE SUZANNE H. SEGAL

UNITED STATES LOCATION

MAGISTRATE JUDGE

Los Angeles County, CA

DATE OF OFFENSE PLACE OF OFFENSE
Beginning on or about Los Angeles, CA
June 23, 2008 and

continuing through on or
about October 15, 2010

ADDRESS OF ACCUSED (IF KNOWN)

Section 1204(a).

COMPLAINANT'S STATEMENT OF FACTS CONSTITUTING THE OFFENSE VIOLATION:
Beginning on or about June 23, 2008 and continuing through on or about October 1 f;
District of California, defendant GEORGE SILAH knowingly violated Title 18, U: ted eA ORE SS

within the Central

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CT 1 5 200

BASIS OF COMPLAINANT'S CHARGE AGAINST THE ACCUSED: by FAL DISTRICT OF aa eed

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(See attached affidavit which is incorporated as part of this Complaint)
MATERIAL WITNESSES IN RELATION TO THIS CHARGE:
Being duly sworn, I declare that the SIGNATURE OF COMPLAINANT
foregoing is true and correct to the C
best of my knowledge. Dario Duarte /
OFFICIAL TITLE

SPECIAL AGENT -Federal Bureau of Investigation
(FBI

Sworn to before me and subscribed in my presence,

SIGNATURE OF MAGISTRATE JUDGE(1)
SUZANNE H. SEGAL

DATE

October 15, 2010

1) See Federal Rules of Criminal Procedure rules 3 and 54.

AUSA: J. Rhoades

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AFFIDAVIT
I, DARIO DUARTE, being duly sworn, declare as follows:
INTRODUCTION
1. I am a Special Agent of the Federal Bureau of
Investigation (“FBI”), and have been so employed since June 2004.

I am assigned to the Los Angeles Field Office-Violent Crimes
Squad, which includes the investigation of kidnappings and
parental abductions.

2. This affidavit is made in support of a criminal
complaint charging GEORGE SILAH and JOHN SILHAH with violations
of Title 18, United States Code, Section 1204(a), International
Parental Kidnapping.

3. The information in this affidavit is based on my
personal participation in this investigation and knowledge
obtained from investigative reports generated by local and
federal law enforcement officials, my discussions with these
officers, and from consultation with other experienced
investigators. This affidavit is intended to show that
sufficient probable cause exists for the requested complaint and
arrest warrants, and it does not purport to set forth all of my
knowledge of or investigation into this matter.

THE INVESTIGATION
4, The Los Angeles Police Department (“LAPD”) and the

Federal Bureau of Investigation, Los Angeles (“FBI”) are jointly
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investigating the abduction of Alexander Zaven Silah (date of
birth XX/XX/1996) and Zaven Philip Silah (date of birth
XX/XX/1999), by GEORGE SILAH, their biological father. In
addition, LAPD and FBI are investigating the abduction of Greg
Alexander Silah (date of birth XX/XX/1998), by JOHN SILHAH, his
biological father.

5. GEORGE SILAH and JOHN SILAH are brothers, both with ties
to the Armenian community in Syria. In addition to the victim
children, GEORGE SILAH and JOHN SILAH are believed to be
traveling with GEORGE SILAH’s girlfriend, Gayane Dobadzhyan, and
her brother, Levon Dobadzhyan.

6. The following information was derived from a review of
Los Angeles Police Department Investigative Report DR#08-14
20045:

a. Zanni Meguerian (“Meguerian”), the mother of Alex
and Zaven Silah, was granted physical custody of her children
after her divorce from GEORGE SILAH, while GEORGE SILAH was
granted joint/legal custody of these children. The divorce took
place in approximately March 2006.

b. On June 23, 2008, Meguerian drove Alex and Zaven to
GEORGE SILAH’s residence, located at 7371 W. 81st Street, Los
Angeles, California, where GEORGE SILAH resides with his brother,
JOHN SILAH. Meguerian took Alex and Zaven Silah to GEORGE

SILAH’s residence so that the boys could spend time with GEORGE
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SILAH during their summer vacation.

c. On July 2, 2008, at GEORGE SILAH’s request,
Meguerian brought copies of Alex and Zaven’s birth certificates
to GEORGE SILAH after he informed Meguerian they were needed so
that Alex and Zaven could board a Disney cruise ship in Florida
on a vacation that GEORGE SILAH had purportedly planned. GEORGE
SILAH told Meguerian that this Disney cruise ship was scheduled
to embark on July 6, 2008. He also stated that he planned to
take the children to Big Bear, California prior to the cruise for
the 4th of July holiday, along with his brother, JOHN SILAH and
JOHN SILAH’s son, Greg.

d. According to the information that GEORGE SILAH
provided to Meguerian, he was supposed to return to Los Angeles
from Big Bear, California on July 5, 2008 with Alex and Zaven
Silah, prior to flying to Florida for the Disney cruise.

However, GEORGE SILAH failed to show up at the appointed time in
Los Angeles, and Meguerian has not seen or spoken to GEORGE
SILAH, JOHN SILAH, or her sons since July 2, 2008.

e. At the request of the Los Angeles Police
Department, the Brevard County Sheriff's Department in Florida
checked the manifest for the Disney cruise ship that GEORGE SILAH
told Meguerian that he was going to board with his sons and found

that neither GEORGE SILAH, Alex Silah, nor Zaven Silah boarded

the cruise ship.
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7. The following information was derived from a review of
Los Angeles Police Department Investigative Report DR#08-14
20046:

a. Christine Jeanbart (“Jeanbart”), the mother of Greg
Silah, was granted physical custody of her son after her divorce
from JOHN SILAH, while JOHN SILAH was granted joint/legal custody
of Greg Silah. The divorce occurred in approximately October
2000.

b. On June 23, 2008, at approximately 1000 hours, JOHN
SILAH arrived at Jeanbart’s home and picked up Greg Silah
pursuant to terms of the custody order concerning summer
vacations. This was the last time Jeanbart saw Greg Silah, who,
by agreement, was supposed to be returned to Jeanbart by JOHN
SILAH on July 6, 2008.

8. On July 23, 2008, during an ex parte hearing at the Los
Angeles Superior Court, the Honorable Frederick Shaller revoked
all visitation privileges of GEORGE SILAH and JOHN SILAH, and he
awarded immediate, sole custody of Alex Silah, Zaven Silah, and
Greg Silah to the children’s respective mothers, Meguerian and
Jeanbart. In addition, Judge Shaller ordered the Los Angeles
District Attorney’s office to open an investigation into the
disappearance of the Silah children, and further ordered the

District Attorney’s Office to locate, retrieve, and return the

minor children to their mothers.
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9. Subsequently, the following warrants were issued for the
arrests of GEORGE SILAH and JOHN SILAH for violations of Section
278.5 of the California Penal Code (Parental Abduction) :

a. LACBA34428601 for GEORGE SILAH
b. LACBA34428602 for JOHN SILAH

10. According to Meguerian and Jeanbart, Both GEORGE SILAH
and JOHN SILAH are aware of the conditions of their respective
custody agreements, and the ramifications of violating those
conditions.

11. The Los Angeles County District Attorney’s Office has
agreed to extradite GEORGE SILAH and JOHN SILAH in the event they
are apprehended, and along with the Los Angeles Police Deparment,
has asked for the FBI’s assistance in locating the two men and
returning them to California.

12. As of the date of this affidavit, Alex, Zaven, and Greg
Silah have not been returned to their mothers, Meguerian and
Jeanbart, nor have GEORGE SILAH nor JOHN SILAH returned to their
homes in Los Angeles.

13. According to Meguerian, in early July 2008, after
GEORGE SILAH and JOHN SILAH failed to return their children to
Meguerian and Jeanbart as required, Meguierian and Jeanbart
entered GEORGE SILAH and JOHN SILAH’s home at 7371 W. 81°
Street, Los Angeles, California to search for clues as to their

whereabouts. Upon entering their home, Meguerian and Jeanbart
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found the house uninhabitable and in disarray, with papers and
belongings strewn everywhere. Meguerian and Jeanbart believed
this indicated that GEORGE SILAH, JOHN SILAH, and their children
left in haste. To date, all attempts to contact GEORGE SILAH and
JOHN SILAH, as well as their children, by telephone or by e-mail,
have proven unsuccessful.

14. I learned the following information from Special Agent
James S. Davidson (“SA Davidson”) of the Los Angeles FBI who was
the initial case agent:

a. After their disappearance, it was learned that
GEORGE SILAH and JOHN SILAH were alleged to have defrauded
individuals in California as described below. It is believed
that GEORGE SILAH and JOHN SILAH may thus wish to avoid
encountering these people and, as a result, may not return to
California.

b. On August 29, 2008, SA Davidson interviewed George
Oganesyan, who advised that he was defrauded out of over $200,000
by GEORGE SILAH, JOHN SILAH, and several of their associates,
including Gayane Dobadzhyan, Levon Dobadzhyan, Vahan Dobadzhyan,
and Miguel Angel Melgar. They persuaded Oganesyan to allow them
access to his business accounts, financial assets, and credit
cards so that they could repair his credit and sell his business
for a higher profit. GEORGE and JOHN SILAH kept the proceeds on

new loans issued under Oganesyan’s name, and purportedly repeated
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this scheme with more than fifteen other victims.

c. On September 12, 2008, SA Davidson interviewed
Garapet Petrosyan, Gayane Dobadzhyan’s ex-husband, who stated the
following:

i. Gayane and Petrosyan divorced after Gayane
became involved with GEORGE SILAH on a business and romantic
level.

ii. Gayane, Levon, and Vahan Dobadzhyan all flew
into Greece in early July 2008, at approximately the same time as
GEORGE SILAH and JOHN SILAH left the United States with their
sons. Based on Petrosyan’s knowledge of the dynamics of this
group, he believes that Gayane and GEORGE SILAH are most likely
together. Based on Petrosyan’s knowledge of GEORGE SILAH and
JOHN SILAH’s fraudulent activities, Petrosyan believes the group
fled California to avoid detection by their victims.

15. On October 2, 2008, Officer Patrick Montes of LAPD and
SA Davidson interviewed Miguel Angel Melgar, who admitted to
playing a minor role in the fraudulent activities of GEORGE SILAH
and JOHN SILAH. Melgar stated that in the months prior to their
disappearance, he observed GEORGE SILAH and JOHN SILAH wearing
bullet-proof vests while in their homes because they were fearful
of retaliation from the victims of their fraudulent activities.
Melgar also stated that GEORGE SILAH and JOHN SILAH often spoke

of leaving California for Canada.
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16. In the course of this investigation, “TECS” records
were examined, which memorialize the travels of individuals from
the United States to countries abroad. It was discovered by
reviewing these records that Alexander and Lucy Silah, the
parents of GEORGE SILAH and JOHN SILAH, left the United States on
June 25, 2008, and flew to Syria. Alexander and Lucy Silah had
been residing with GEORGE SILAH and JOHN SILAH at 7371 W. 81st
Street, Los Angeles, California, up until their departure. There
are no records that either has returned to the United States
since departing on June 25, 2008. According to Meguerian,
Alexander and Lucy Silah are close to their children and
grandchildren and would want to be in a position to visit them.

17. Based on my training and experience in abduction cases
of this nature, I believe the departure from California of
Alexander and Lucy Silah in the weeks just prior to the
disappearance of GEORGE SILAH and JOHN SILAH with their sons is a
strong indicator that GEORGE SILAH and JOHN SILAH are no longer
residing in California.

18. Since the victims’ disappearance in July 2008, the
LAPD and FBI have worked to locate the victims and GEORGE SILAH
and JOHN SILAH. This investigation has included pursuing leads
in Guatemala, Turkey, Canada, and Mexico. Recent developments

are detailed below.
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19. Through a confidential source, it was revealed that
Lucy and Alexander Silah, the victims’ grandparents, traveled
from their home in Syria to Turkey, and then to Greece in June
2010. The source indicated that Lucy and Alexander Silah were
purportedly visiting their grandchildren in Greece.

20. The FBI requested assistance from the Hellenic National
Police (“HNP”) to locate GEORGE SILAH, JOHN SILAH, or their sons.
HNP has provided information to the FBI, as detailed below, but
has not in every case indicated how the information was collected
or the nature of the source:

a. On October 10, 2010, the HNP reported that they
had confirmed that the victims’ grandparents, Lucy and Alexander
Silah, are residing in a suburb of Athens, Greece called Paleo
Phaliro. The HNP has learned that Lucy and Alexander Silah have
been using Dutch “SIM” cards in their cell phones. The phones
themselves are issued by Greek telephone providers. HNP has also
become aware that the grandparents are attempting to obtain
fraudulent documents in Syria, possibly so that they can depart
Greece. HNP opined that the grandparents are most likely
attempting to depart Greece, possibly for the Netherlands.

b. HNP advised the FBI that HNP has learned that JOHN
SILAH, GEORGE SILAH, and Gayane Dobadzhyan are using cellular
handsets issued by Dutch telephone providers. HNP has informed

the FBI that HNP believes GEORGE SILAH and JOHN SILAH live
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together with all three children and Gayane Dobadzhyan at the
same residence in Holland. HNP stated that GEORGE SILAH is
currently using alias “Aram” LNU, victim Alex Silah utilizes
alias “Armen” LNU, victim Zaven Silah utilizes alias “Ara” LNU,
and victim Greg Silah utilizes the alias “Aro” LNU. Gayane
Dobaddzhyan is purportedly utilizing the alias Jacqueline Marous
or Marouch (phonetic). JOHN SILAH is also believed to reside
with a female name “Anna” LNU, and has frequent dealings with and
individual named Hovspyan who also resides in Holland. At this
time, it is unknown if JOHN SILAH is utilizing an alias. It has
been reported that all three victim children attend school in the
Netherlands.

c. According to HNP, both subects, JOHN SILAH and
GEORGE SILAH, have been in contact with a Dutch attorney in an
attempt to legitimize their stay in the Netherlands. They are

expecting an update from the attorney as soon as October 26,

2010.

21. Recently, I have been in communication with the FBI
Assistant Legal Attache in Brussels, who is working with Dutch
authorities to determine the exact whereabouts of JOHN SILAH,
GEORGE SILAH, and the victim children.

CONCLUSION
22. Based on the foregoing, and my experience in conducting

fugitive and kidnaping investigations, I believe there is

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probable cause to believe that GEORGE SILAH and JOHN SILAH have
fled the United States with their sons who are under the age of
16, and for whom they do not have custodial rights, and in doing

so, have violated Title 18, United States Code, Section 1204 (a).

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Dario Duarte
Special Agent, FBI

Sworn and sub ibed to before me
on this _ 1 day of October 2010

SUZANNE H. SEGAL

UNITED STATES MAGISTRATE JUDGE

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